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 UNITED STATES DISTRICT COURT                          Docket No. 1:24-cv-00360
 EASTERN DISTRICT OF NEW YORK
 ______________________________________________________________________________

 AMERICAN TRANSIT INSURANCE COMPANY,

                                Plaintiffs,

       -against-


 BRADLEY PIERRE, MARVIN MOY, M.D., RUTLAND
 MEDICAL P.C., WILLIAM A. WEINER, D.O., NEXRAY
 MEDICAL IMAGING, P.C. d/b/a SOUL RADIOLOGY
 MEDICAL IMAGING and JOHN DOES 1-15,

                               Defendants.


  DEFENDANTS, WILLIAM A. WEINER, D.O., NEXRAY MEDICAL IMAGING, P.C.
  D/B/A SOUL RADIOLOGY MEDICAL IMAGING’S, MEMORANDUM OF LAW IN
  OPPOSITION TO PLAINTIFF’S MOTION SEEKING TO STAY AND ENJOIN CIVIL
               LAWSUITS AND ARBITRATION PROCEEDINGS


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                                PRELIMINARY STATEMENT

        The instant Memorandum of Law is submitted on behalf of Defendants, NEXRAY

 MEDICAL IMAGING P.C. d/b/a SOUL RADIOLOGY MEDICAL IMAGING and WILLIAM A.

 WEINER D.O. (collectively, the “NEXTRAY Defendants”), opposition to a motion seeking to stay

 and enjoin civil lawsuits and arbitration proceedings against Plaintiff-automobile insurance

 carriers American Transit Insurance Company (“AMERICAN TRANSIT”).

        The Defendants in this matter are primarily Healthcare Providers that regularly treat car

 accident victims insured by AMERICAN TRANSIT’s New York no-fault automobile insurance

 policies. Under these no-fault policies, also known as personal injury protection (“PIP”) policies,

 AMERICAN TRANSIT agrees to automatically reimburse certain medical costs associated with

 accidents—that is, without regard to the policyholder’s fault in the accident. The Healthcare

 Providers, who are assigned these claims by their patients, submit their bills directly to

 AMERICAN TRANSIT. These no-fault billings provide a major source of revenue for the

 Healthcare Providers

        The arbitrations and lawsuits in issue were previously commenced in accordance with the

 No-Fault Regulatory System promulgated by the New York State legislature, 11 N.Y.C.R.R., Part

 65, et seq. (“No-Fault Regulations” or “Regulations”). NEXRAY is a medical provider that

 provided AMERICAN TRANSIT’s insureds treatment for their insureds injured in motor vehicle

 accidents ostensibly covered by policies issued by AMERICAN TRANSIT. NEXTRAY’s civil

 court collection actions against AMERICAN TRANSIT, which AMERICAN TRANSIT seeks to

 stay, had been previously brought to obtain payment for billed medical services provided by the

 Providers to motor vehicle accident victims who are entitled to receive benefits under the New

 York Insurance Law and the No-Fault Regulations promulgated thereunder. In total, the number



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 of pending litigations for both Defendants Rutland and NEXRAY are, according to AMERICAN

 TRANSIT’s own papers, is only 69 with 61 pending arbitrations.

           Defendants contend that the Second Circuit has already ruled that this kind of case should

 not be subject to the kind of injunctive relief sought by Plaintiffs. Moreover, Plaintiffs cannot meet

 the standard for a preliminary injunction as it has not suffered irreparable harm, nor does it have a

 likelihood of success or substantial question as to the merits as discovery to date has shown. The

 balance of harms also favors Defendants given the AMERICAN TRANSIT’s size and the

 importance of the collection to Defendants. Moreover, recent case law has, at a minimum, often

 refused to grant a stay of pending litigation under the Anti-Injunction Act.

           For the reasons set forth below, the relief requested by AMERICAN TRANSIT should be

 denied.

                                             ARGUMENT

                                                    I.

                          THE ANTI-INJUNCTION ACT BARS A STAY
                           OF PRESENTLY PENDING STATE CASES

           Relying in part upon the All Writs Act (“AWA”), 28 U.S.C. §1651, AMERICAN TRANSIT

 contends that the court is authorized to enjoin some 69 pending state court litigations commenced

 against AMERICAN TRANSIT for unpaid claims. Plaintiffs must concede that AWA is limited by

 the Federal Anti-Injunction Act, (“AIA”) 28 U.S.C. §2283, which, with three explicit exceptions,

 expressly prohibits a federal court from enjoining a state court proceeding as follows:

              A court of the United States may not grant an injunction to stay proceedings
              in a State court except as expressly authorized by Act of Congress, or where
              necessary in aid of its jurisdiction, or to protect or effectuate its judgments.

 28 U.S.C. §2283 (Emphasis added)




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         (A) The In Personam /In Rem Distinction Is The Essence Of The “Necessary In Aid-
             Of-Jurisdiction” Exception And This Court Should Decline AMERICAN
             TRANSIT’s Request To Stay

         “The policy of the anti-injunction statute, 28 U.S.C. § 2283, is to prohibit enjoining of state

 court suits except in those situations where the real or potential conflict threatens the very authority

 of the federal court.” Vernitron Corp. v. Benjamin, 440 F.2d 105, 108 (2d Cir. 1971), cert. denied,

 402 U.S. 987 (1971). “Proceedings in state courts, [thus,] should normally be allowed to continue

 unimpaired by intervention of the lower federal courts, with relief from error, if any, through the

 state appellate courts and ultimately [the Supreme] Court.” United States v. Schurkman, 728 F.3d

 129, 135 (2d Cir. 2013) (quoting Atl. Coast Line R.R. Co. v. Bhd. of Locomotive Eng'rs, 398 U.S.

 281, 287 (1970)). As explained by the Second Circuit, the “explicit wording” of § 2283 and “the

 fundamental principle of a dual system of courts” indicates that “[a]ny doubts as to the propriety

 of a federal injunction against state court proceedings should be resolved in favor of permitting

 the state courts to proceed in an orderly fashion to finally determine the controversy.” Schurkman,

 728 F.3d at 135 (quoting Atl. Coast Line R.R. Co., 398 U.S. at 297).

         The “necessary in aid-of-jurisdiction” exception to the AIA is meant to apply to situations

 in which the federal court has asserted control over property or assets brought before the court for

 equitable administration and distribution. See The Anti-Injunction Act and The Problem Of

 Federal-State Jurisdictional Overlap, 92 Tex. L. Rev. 1 (November 2013). Thus, the general rule

 has been and remains that an injunction cannot be issued to restrain a state action in personam

 involving the same subject matter from going on at the same time. See New Falls Corp. v. Soni

 Holdings, LLC, 2022 WL 20058522, at *4 (E.D.N.Y. Sept. 13, 2022) (“the Second Circuit has

 limited the in-aid-of-jurisdiction exception to lawsuits based on in rem jurisdiction or, in some

 circumstances, class actions” citing Schurkman, 728 F.3d at 135).



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          Neither the instant proceeding nor the civil court actions in the State courts are based on

 in rem jurisdiction. Rather, they are in personam actions. 1

         As stated in 17A C. Wright & A. Miller, Federal Practice & Procedure §4225 (3d ed.)

 regarding the treatment of the “necessary in aid-of-jurisdiction” exception, “The general rule

 remains, however, that an injunction cannot issue to restrain a state action in personam involving

 the same subject matter from going on at the same time.” Id. at p. 2 and n.12. Thus, as noted by

 the Second Circuit in United States v. Schurkman:

           We recently reaffirmed the principle that the “in aid-of-jurisdiction” exception
           generally applies only where necessary to protect a federal court's jurisdiction
           over a res. See Wyly v. Weiss, 697 F.3d 131, 137–38 (2d Cir. 2012). In Wyly,
           we held that a district court could not invoke the “in aid-of-jurisdiction”
           exception to enjoin state proceedings, notwithstanding that a settlement
           agreement resolving the federal action provided that the federal district court
           would retain exclusive jurisdiction over enforcement of the settlement. Id. at
           139.

 United States v. Schurkman, 728 F.3d at 137.

         In Wyly v. Weiss, 697 F.3d 131 (2d Cir. 2012), the Second Circuit explained the limited

 nature of the “necessary in aid-of-jurisdiction” exception, and that it is generally reserved for state

 court actions in rem, because the state court's exercise of jurisdiction “necessarily impairs, and

 may defeat,” the federal court’s jurisdiction over the res. Id.at 137-38. By contrast, “an in personam

 action involves a controversy over liability rather than over possession of a thing.” [citation

 omitted]. For that reason, an in personam action generally “‘does not tend to impair or defeat the

 jurisdiction of the court in which a prior action for the same cause is pending.’” Id. (quoting Kline

 v. Burke Constr. Co., 260 U.S. 226, 229 (1922).


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   Courts in this Circuit have rejected creative notions such as that “insurance proceeds” or “litigation” itself,
 is a res so as to invoke the “aid-of-jurisdiction” exception to the AIA. See e.g., SR Int'l Bus. Ins. Co. v.
 World Trade Ctr. Properties, LLC, 445 F.Supp.2d 356, 365 (S.D.N.Y. 2006).

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        Similarly, in Vendo Co. v. Lektro-Vend Corp., 433 U.S. 623 (1977), in discussing its earlier

 decision in Kline v. Burke Constr. Co., supra, the Supreme Court stated:

           (A)n action brought to enforce (a personal liability) does not tend to impair or
           defeat the jurisdiction of the court in which a prior action for the same cause is
           pending. Each court is free to proceed in its own way and in its own time,
           without reference to the proceedings in the other court. Whenever a judgment
           is rendered in one of the courts and pleaded in the other, the effect of that
           judgment is to be determined by the application of the principles of res judicata
           . . ..” Id., at 230, 43 S.Ct., at 81. No case of this Court has ever held that an
           injunction to “preserve” a case or controversy fits within the “necessary in aid
           of its jurisdiction” exception; neither have the parties directed us to any other
           federal court decisions so holding.

 433 U.S. at 642 (emphasis added).

        Thus, it is clear that under the AIA, as interpreted by the Supreme Court and the Second

 Circuit, a federal injunction against state court proceedings cannot be justified even where the state

 proceedings threaten to impair or preclude the federal court from reaching the same issue or

 deciding the case through res judicata or collateral estoppel. Id. See also Atlantic Coast Line R.

 Co., supra, 398 U.S. at 295-96 (“In short, the state and federal courts had concurrent jurisdiction

 in this case, and neither court was free to prevent either party from simultaneously pursuing claims

 in both courts. ... Therefore, the state court’s assumption of jurisdiction over the state law claims

 ... did not hinder the federal court’s jurisdiction so as to make an injunction necessary to aid that

 jurisdiction” (emphasis added).

        The rationale of the in rem/in personam dichotomy, and the interaction between the AIA

 and the principles of res judicata, was perhaps best explained in William T. Mayton, Ersatz

 Federalism Under the Anti-Injunction Statute, 78 Colum. L. Rev. 330, 359 (1978), in which, in

 discussing Kline v. Burke Constr. Co, supra, it was explained as follows:

           The theory underlying this in rem/in personam distinction, then, is that where a
           court gains jurisdiction over property, it holds the property to the exclusion of
           other courts because it is a physical impossibility for other courts “to possess or

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             control the same thing at the same time.” No such difficulties, however, are
             thought to arise with respect to concurrent in personam jurisdiction where the
             only issue is which court shall decide a “mere question of personal liability.”
             Here, both courts may proceed independently— “[e]ach ... in its own way and
             in its own time, without reference to the proceedings in the other court’‘—with
             the judgment rendered first entitled to res judicata by the other court, thus
             ending the trial in both courts. The doctrine of res judicata, therefore, neatly
             avoids the possibility of conflicting federal and state judgments. That this
             scheme also promotes multiple litigation and an unseemly race to res judicata
             is one cost imposed by the anti-injunction statute. (emphasis added)

         Indeed, the law in this Circuit is that competing lawsuits involving overlapping issues of

 personal liability are a necessary by-product of the AIA and do not justify the issuance of federal

 injunctive relief. As observed by the Second Circuit, “[the Supreme Court] has never held that a

 district court may enjoin, as necessary in aid of the district court's jurisdiction, a parallel in

 personam state action.” See e.g. Ret. Sys. of Ala. v. J.P. Morgan Chase & Co., 386 F.3d 419, 426

 (2d Cir. 2004) (citing Vendo Co. v. Lektro–Vend Corp., 433 U.S. at 642 (plurality opinion) (“We

 have never viewed parallel in personam actions as interfering with the jurisdiction of either

 court....”)).

         As recognized recently in a thoughtful decision issued by District Judge Eric R. Komitee,

 “at bottom, the necessary-in-aid-of-jurisdiction exception applies (by definition) when necessary

 to protect the Court's jurisdiction — not when it is desirable, or even necessary, to protect a private

 party’s litigation position.” Gov't Emps. Ins. Co. v. Granovsky, 2022 WL 1810727, at *6 (E.D.N.Y.

 June 2, 2022) (emphasis added).

         Nor is there any basis for concluding that the continued pursuit of the state civil court cases

 would seriously impair the federal court’s ability or flexibility to determine this case, including

 this Court’s ability to grant the requested declaratory relief. That is, applying the above-mentioned

 principles regarding res judicata and its interplay with the AIA, to the extent AMERICAN

 TRANSIT succeeds in its declaratory judgment claims herein, any Provider claims which still

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 remain pending in the state court will be wiped out. And, to the extent a state court case has

 resolved a claim brought by a Provider in favor of the Provider, that determination will be res

 judicata as to that individual claim. See Vendo Co. v. Lektro-Vend Corp., 433 U.S. at 642 (“(A)n

 action brought to enforce (a personal liability) does not tend to impair or defeat the jurisdiction of

 the court in which a prior action for the same cause is pending. Each court is free to proceed in its

 own way and in its own time, without reference to the proceedings in the other court. Whenever a

 judgment is rendered in one of the courts and pleaded in the other, the effect of that judgment is to

 be determined by the application of the principles of res judicata . . .” (citation omitted)). See also

 Moore v. Consol. Edison Co. of N.Y., 409 F.3d 506, 510 (2d Cir. 2005). (Declaratory relief not

 threatened by ongoing state court no-fault proceedings).

        (B)     The Cases AMERICAN TRANSIT Relies Upon Have Been Rejected By
                Other Courts In This District And, In Any Event, Are Simply Wrong

        AMERICAN TRANSIT cites many cases including on State Farm Mut. Auto. Ins. Co. v.

 Parisien, 352 F. Supp.3d 215 (E.D.N.Y. 2018), and several cases citing Parisien.

        The district court decision in Parisien was examined in detail in Gov't Emps’. Ins. Co. v.

 Granovsky, supra, decision issued by District Judge Eric R. Komitee. In Granovsky. Judge

 Komitee acknowledged that “a growing string of courts in this district have entered injunctions

 staying state court cases in factual circumstances largely indistinguishable from the instant case.”

 However, upon examining relevant controlling precedent Judge Komitee rejected the holding in

 Parisien and the cases relying on it stating: “these cases are comprehensively reasoned (especially

 Parisien, which began the line); but I read the applicable Supreme Court and Second Circuit

 precedent to place the relief they grant outside the scope of the AIA's exceptions.” Id. at *3

 (emphasis added).




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        Indeed, as concerns applying the “necessary in aid-of-jurisdiction” exception to in

 personam cases, Judge Komitee noted that “[t]he Second Circuit appears to have applied the [ ]

 exception to an in personam case in only one instance - in In re Baldwin–United Corp., 770 F.2d

 328 (2d Cir. 1985).” Id at *4. Analyzing the facts of Baldwin, Judge Komitee noted that at the time

 the federal district court in Baldwin-United entered the injunction it was presiding over a

 “consolidated, multi-district, class action” brought by a class of annuity holders against twenty-

 six broker dealers who had sold the annuities. See id. at 331 (District court was presiding over “the

 consolidated proceedings of more than 100 federal securities lawsuits”). By the time the district

 judge issued the injunction, he had been presiding over the action for years; eighteen of the broker-

 dealer Defendants had signed stipulations of settlement with the Plaintiff class; and the court had

 given preliminary approval to that settlement and scheduled a fairness hearing. Id. at 332. In

 affirming the district court’s injunction, the Court of Appeals concluded that the class action

 proceeding was “so far advanced that it was the virtual equivalent of a res over which the district

 judge required full control.” Id. at 337.

         In considering the significance of Baldwin–United Corp., to the facts before him, Judge

 Komitee noted:

           Baldwin-United's facts were sui generis: the multidistrict litigation there was truly
           of “extraordinary complexity.” United States v. Schurkman, 728 F.3d 129, 137-138
           (2d Cir. 2013). And it was “crucial to [the Second Circuit's] analysis that most of
           the Defendants had already settled, and that there was a substantially significant
           prospect that the other eight Defendants [would] settle in the reasonably near
           future.” Ret. Sys. of Ala. V. J.P. Morgan Chase & Co, 386 F.3d 419, 428 (2d Cir.
           2004).

 Granovsky at *4.




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         Because none of the crucial factors on which the decision in Baldwin-United turned were

 present in Granovsky, Judge Komitee ruled that “Plaintiff cannot overcome the AIA’s limitations”

 (id. at *5) 2 and denied the requested injunction.

         As in Granovsky, there is no analogy herein to the class action practice and consolidated

 multidistrict litigation that were crucial factors in In re Baldwin-United Corp. This case is not

 “multi-district litigation”—all of the cases subject to the requested stay are pending in the very

 same state court system. 3 Accordingly, like Granovsky, none of the crucial factors in Baldwin-

 United are present in the instant matter.

         It is not surprising then that numerous judges in this district when addressing the decision

 in Parisien, have refused to follow it and declined to apply the “necessary in aid-of-jurisdiction

 exception.” See e.g. New Falls Corp. v. Soni Holdings, LLC, 2022 WL 20058522, at *5 (E.D.N.Y.

 Sept. 13, 2022) (In light of contrary legal authority in this district, “[t]he Court does not consider

 [Parisien and cases that rely thereon] to be persuasive” regarding the in-aid-of-jurisdiction

 exception to the Anti-Injunction Act); Gov't Emps’. Ins. Co. v. Granovsky, 2022 WL 1810727, at

 *3, 6 (E.D.N.Y. June 2, 2022) (“the applicable Supreme Court and Second Circuit precedent place

 the relief granted by [the court in Parisien and cases citing it] outside the scope of the AIA's

 exceptions”); State Farm Mut. Auto. Ins. Co. v. Metro Pain Specialists P.C., 2022 WL 1606523,

 at *13 (E.D.N.Y. May 20, 2022) (“the Court finds that the in-aid-of-jurisdiction exception to the

 Anti-Injunction Act does not apply to Plaintiffs’ request for a preliminary injunction of pending



 2
   Indeed, the Second Circuit in a 2013 decision, United States v. Schurkman, held: “we decline to extend
 the holding of Baldwin–United beyond the exceptional circumstances of that case.” 728 F.3d at 138.
 (Emphasis added).
 3
   Nor do these cases fit in the sub-category to the exception of “parallel state actions which might trigger
 a breakdown in “settlement negotiations.” See In re HSBC Bank, USA, N.A. Debit Card Overdraft Fee
 Litig., 99 F. Supp. 3d 288, 315 (E.D.N.Y. 2015) (collecting cases).


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 no-fault insurance state court proceedings); see also Gov't Emps’. Ins. Co. v. Mayzenberg, 2018

 WL 6031156, at *9 (E.D.N.Y. Nov. 16, 2018) (“[E]xception to the Anti-Injunction Act is not

 warranted”).

        While some of the arguments relied on in Parisien (and other cases citing it) may have

 practical appeal, that appeal is not recognized by the Second Circuit as a basis for granting an

 injunction, which has ruled “creat[ing] an additional exception to the Anti-Injunction Act for

 circumstances where a federal court finds it convenient to enjoin related state proceedings

 [is] an approach contrary to the Supreme Court’s direction that we construe doubts about

 the permissibility of an injunction in favor of permitting the state courts to proceed in an

 orderly fashion to finally determine the controversy.” Ret. Sys. of Ala. v. J.P. Morgan Chase &

 Co., 386 F.3d at 430 (emphasis added).

        Ample Supreme Court and Second Circuit precedent thus demonstrate that AMERICAN

 TRANSIT cannot satisfy the “necessary in aid” of the court’s jurisdiction exception to the AIA,

 and hence the motion to stay Defendants’ pending 69 court proceedings must be denied.

       (C) The Same Relief Is Available to AMERICAN TRANSIT In State Court

        Although not relevant to an analysis of the AIA, AMERICAN TRANSIT’s assertion that

 the cases need to be heard together in order for AMERICAN TRANSIT to demonstrate the alleged

 fraud, is untrue. Rather, the fact is that they could be consolidated in state court if AMERICAN

 TRANSIT chose to do so. See Metroscan Imaging PC v. Geico Ins. Co., 8 Misc.3d 829 (N.Y. City

 Civ. Ct. 2005), aff'd, 13 Misc.3d 35 (App. Term 2006) (consolidating over sixty (60) no-fault

 actions).

        Indeed, AMERICAN TRANSIT could have brought an action in New York State court

 seeking the relief sought herein, including a request for a stay. For example, in State Farm Mut.



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 Auto. Ins. Co. v. Anikeyeva, 89 A.D.3d 1009 (2d Dept. 2011), an automobile insurer brought claims

 for unjust enrichment, a declaratory judgment to recover no-fault payments, and a declaration that

 it did not have any obligation to pay no-fault claims submitted to it (the very same relief sought

 herein by AMERICAN TRANSIT) by 16 different medical professional corporations, on the

 grounds that, among other things, the professional corporation Defendants were unlawfully

 incorporated and, thus, ineligible to recover no-fault benefits. 4 In addition, in that same case the

 automobile insurer sought and obtained from the state court a stay of “all currently pending actions

 or other proceedings and any suits, arbitrations or other proceedings that are subsequently

 instituted by and/or on behalf of the PC Defendants against Plaintiff involving reimbursement for

 No-Fault benefits.”

         Indeed, New York State courts routinely stay collection actions pending declaratory

 judgment proceedings. See Ameriprise Ins. Co. v. Hampton, 60 Misc.3d 1222(A) (N.Y. Sup. Ct.,

 New York County 2018); 21st Century Advantage Ins. Co. v. Cabral, 35 Misc.3d 1240(A) (N.Y.

 Sup. Ct., Nassau County 2012); Autoone Ins. Co. v. Manhattan Heights Medical, P.C., 24 Misc.3d

 1229(A), (N.Y. Sup. Ct., Queens County 2009); St. Paul Travelers Ins. Co. v. Nandi, 15 Misc.3d

 1145(A), (N.Y. Sup. Ct., Queens County 2007). In short, AMERICAN TRANSIT could have

 sought relief from the state courts. That it chooses to seek its relief in federal court is not a basis

 for a federal court to enjoin pending state court proceedings.

         In any event, and of particular relevance herein, a stay of the civil court cases is simply not

 “necessary in aid-of-jurisdiction” within the meaning of the AIA, and there is no legitimate basis

 herein for a federal injunction of state court actions, which would have serious constitutional



 4
  Further, had the insurance carrier chosen to, it could have asserted civil RICO claims in the case. See
 Simpson Electric Corp. v. Leucadia, Inc., 72 N.Y.2d 450, 461 (1988) (New York State Courts have
 concurrent jurisdiction with Federal Courts to hear civil RICO claims).

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 implications regarding “the fundamental principle of a dual system of courts.” Indeed, the

 implications of such a stay are sufficiently consequential to warrant invoking again, the Supreme

 Court’s admonition that: “(a)ny doubts as to the propriety of a federal injunction against state court

 proceedings should be resolved in favor of permitting the state courts to proceed in an orderly

 fashion to finally determine the controversy.” Atlantic Coast Line R. Co. v. Brotherhood of

 Locomotive Engineers, 398 U.S. at 297

                                                    II.

                            STANDARD FOR INJUNCTIVE RELIEF

         Even if an injunction is available in theory, AMERICAN TRANSIT cannot meet the

 standard. To prevail on a claim for injunctive relief, Plaintiffs must show “(1) irreparable harm

 absent the injunctive relief and (2) either (a) a likelihood of success on the merits or (b) sufficiently

 serious questions going to the merits to make them a fair ground for litigation and (3) a balance of

 hardships tipping decidedly toward the party requesting the preliminary relief.” Jackson Dairy,

 Inc. v. H. P. Hood & Sons, Inc., 596 F.2d 70, 72 (2d Cir. 1979).

         The “showing of irreparable harm is perhaps the single most important prerequisite for the

 issuance of a preliminary injunction, and the moving party must show that injury is likely before

 the other requirements for an injunction will be considered.” Allstate Insurance Company v.

 Elzanaty, 929 F.Supp.2d 199, 221 (E.D.N.Y. 2013) (quoting Kamerling v. Massanari, 295 F.3d

 206, 214 (2d Cir. 2002).

         Irreparable harm occurs where “remedies available at law, such as monetary damages, are

 inadequate to compensate” the Plaintiff for its injury. Salinger v. Colting, 607 F.3d 68, 80 (2d Cir.

 2010). The irreparable harm must be “not remote or speculative but . . . actual and imminent.”

 Jackson Dairy, Inc., 596 F.2d at 72.



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         (A) There Has Not Been and Will Not Be Irreparable Harm

         An “irreparable harm is that where, but for the grant of equitable relief, there is a substantial

 chance that upon final resolution of the action, the parties cannot be returned to the positions they

 previously occupied.” Brenntag Int’l Chems., Inc. v. Bank of India, 175 F.3d 245, 249 (2d Cir.

 1999). That threatened harm must be “actual and imminent,” not “remote [or] speculative.”

 Faiveley Transport Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d Cir. 2009) (internal

 quotation omitted). If American Transit succeeds in its RICO and various other fraud-related

 claims, there is no reason to think that it will not be able to recover the funds it spent in arbitration

 through the resulting judgment. Injuries compensable by monetary damages do not meet this

 threshold requirement “because monetary injury can be estimated and compensated.” Brenntag,

 175 F.3d at 249.

         The Second Circuit has already explained that the prospect of pending No-Fault

 arbitrations does not constitute irreparable harm when GEICO made the same exact arguments

 AMERICAN TRANSIT makes about the risk of inconsistent verdict. GEICO Ins. Co. v. Harvey

 Family Chiropractic, 677 F. App’x 716 (2d Cir. 2017) (“[M]oney, time and energy necessarily

 expended absent a stay of … arbitration proceedings are not enough to establish irreparable

 harm”). Therefore, AMERICAN TRANSIT’s argument that those pending arbitrations give rise

 to the need for a stay must fail. “Even if the Defendants obtain other No-Fault reimbursements in

 state court and arbitrations while this case is pending, the Plaintiffs are free to recover those

 payments should they prevail on their RICO claim.” Id. Injuries compensable by monetary

 damages do not meet this threshold requirement “because monetary injury can be estimated and

 compensated.” Brenntag, 175 F.3d at 249. Indeed, as the Second Circuit has explained, irreparable


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 harm just “means” the movant has suffered an “injury for which a monetary award cannot be

 adequate compensation.” Jayaraj v. Scappini, 66 F.3d 36, 39 (2d Cir. 1995) (internal quotation

 omitted). It is simply “not enough” to complain about lost “money, time and energy” that will

 result absent a stay. Id. (quoting Sampson v. Murray, 415 U.S. 61, 90 (1974)).          AMERICAN

 TRANSIT’S Complaint seeks actual and compensatory damages; attorney’s fees; interests; and

 treble damages. . Therefore, every one of its alleged injuries is calculable and payable in money

 damages. (Complaint, Wherefore Clauses). None of the harm alleged is irreparable.

        Notwithstanding this clear and binding precedent, AMERICAN TRANSIT offers no

 evidence of a real irreparable harm. Rather, AMERICAN TRANSIT offers the barest assertion

 (flouting black-letter law) that it will suffer an irreparable injury without a preliminary injunction.

 The affidavit of its manager alleges no harm at all from NEXRAY DEFENDANTS. Indeed, the

 pending cases and arbitrations listed add up to a miniscule amount for a company AMERICAN

 TRANSIT, since it is less than seventy cases and less than seventy arbitrations, with most of them

 seeking less than $1,000.

        As to resources, AMERICAN TRANSIT already seeks its compensatory damages, costs,

 interest, and reasonable attorney’s fees. It seeks and can seek reimbursement for these alleged

 waste of “resources” from the Defendants in its lawsuit. Moreover, AMERICAN TRANSIT does

 not even try to prove that this “harm” of wasted resources in the form of attorney’s fees cannot be

 calculated in monetary terms. To the contrary, AMERICAN TRANSIT will be able to calculate

 the attorney’s fees and proportional arbitration costs exactly.

        In ALLSTATE Insurance Co. v. Harvey Family Chiropractic, 677 Fed. Appx. 716 (2d

 Cir. 2017), the Second Circuit in a RICO “clawback” case against a no-fault healthcare provider,

 in which the carrier, Allstate Insurance Company, sought an injunction against pending and future



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 state court litigations and arbitrations in New York’s No-Fault System, held that the necessity to

 go forward with underlying state claims during the pendency of the federal action was not by any

 means “irreparable harm” so as to justify that the state proceedings be enjoined:

            We need not reach the question of whether the District Court had the
            authority to issue an injunction under the AIA and RICO because Plaintiffs
            have failed to establish the irreparable harm necessary for a preliminary
            injunction. There is no evidence in the record that, upon the conclusion of
            this matter, the Plaintiffs cannot be fully compensated through money
            damages for the alleged harm suffered from the Defendants’ fraudulent
            claims. Even if the Defendants obtain other No-Fault reimbursements in
            state court and arbitrations while this case is pending, the Plaintiffs are
            free to recover those payments should they prevail on their RICO claim.
            (Emphasis added)
 ALLSTATE Insurance Co. v. Harvey Family Chiropractic, 677 Fed. Appx. At 718. See also

 Jayaraj v. Scappini, 66 F.3d 36, 39 (2d Cir. 1995) (“Mere injuries, however substantial, in terms

 of money, time and energy necessarily expended in the absence of a stay, are not enough. The

 possibility that adequate compensatory or other corrective relief will be available at a later date,

 in the ordinary course of litigation, weighs heavily against a claim of irreparable harm.”); see also,

 CRP/Extell Parcel I, L.P. v. Cuomo, 394 Fed. Appx. 779, 781 (2d Cir. 2010) (unpublished) (“We

 have long held that an injury compensable by money damages is insufficient to establish

 irreparable harm”).

        In the instant action, AMERICAN TRANSIT offers no proof that the commencement of

 future court proceedings will cause AMERICAN TRANSIT irreparable harm. For economic

 injury to be irreparable a Plaintiff must show that it will suffer harm that is “‘more than simply

 irretrievable; it must also be serious in terms of its effect on the Plaintiff.’” Toxco, Inc. v. Chu,

 724 F.Supp.2d 16, 30 (D.D.C. 2010) (quoting Hi–Tech Pharmacal Co., Inc. v. U.S. Food &

 Drug Admin., 587 F.Supp.2d 1, 11 (D.D.C. 2008)). “Purely economic harm is not considered

 sufficiently grave under this standard unless it will cause extreme hardship to the business, or

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 even threaten destruction of the business.” Id. (quoting Gulf Oil Corp. v. Dep't of Energy, 514

 F.Supp. 1019, 1026 (D.D.C. 1981) (emphasis added). The possibility that AMERICAN

 TRANSIT – a multi-billion-dollar company – will be destroyed by defending future claims for

 payment from these Providers is ludicrous on its face.

        Moreover, “[m]ere litigation expense, even substantial and unrecoupable cost, does not

 constitute irreparable injury.” Renegotiation Board v. Bannercraft Clothing Co., 415 U.S. 1, 24

 (1974); see also Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 115 (2d Cir. 2005).

        While a recognized exception exists to the requirement that a party seeking injunctive relief

 demonstrate that money damages are an inadequate remedy, the exception is premised on the

 movant showing that the there is an imminent threat of the defendant’s actual insolvency. Coastal

 Inv. Partners, LLC v. DSG Glob., Inc., 2017 WL 3605502, at *3 (S.D.N.Y. July 31, 2017). As the

 moving party, AMERICAN TRANSIT carries a heavy burden in demonstrating current or

 imminent insolvency at the preliminary injunction stage, and courts in this Circuit have “denied

 applications for a preliminary injunction, even in the face of evidence that a defendant was in very

 weak financial condition.” Coastal Inv. Partners, LLC v. DSG Glob., Inc., supra; Union Capital

 LLC v. Vape Holdings, Inc., 2016 WL 8813991, at *3 (S.D.N.Y. Mar. 9, 2016) (collecting cases);

 see also LG Capital Funding, LLC v. PositiveID Corp., 2017 WL 2556991, at *6 (E.D.N.Y. June

 12, 2017); LG Capital Funding, LLC v. Vape Holdings, Inc., 2016 WL 3129185, at *4 (E.D.N.Y.

 June 2, 2016).

        Here, the burden is AMERICAN TRANSIT’s. AMERICAN TRANSIT fails to meet its

 high burden AMERICAN TRANSIT does not even assert, let alone demonstrate, that any of the

 Defendants are on the verge of insolvency and that such is imminent, as is required under the




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 irreparable harm standard. See LG Capital Funding, LLC v. Vape Holdings, Inc., 2016 WL

 3129185, at *4.

          Finally, AMERICAN TRANSIT claims “the risk of inconsistent results between and

 amongst the Defendants’ collection proceedings and the present case – and the potential

 frustration of AMERICAN TRANSIT’s declaratory judgment claim here satisfy the irreparable

 harm requirement. But similar to the discussion above regarding the AIA, res judicata eliminates

 the threat of inconsistent results. If this Court rules in Plaintiffs’ favor on the merits, including

 the claims for declaratory relief, such determination will be res judicata as to any then pending

 state court claims. And as concerns any determinations by the state courts, as explained by the

 Second Circuit:

             There is no reason why [a] state court cannot or should not determine issues of
             fact and state law relevant thereto as they come up in the state litigation. The
             subsequent effect of collateral estoppel, far from requiring the federal court to
             stay proceedings in the state court, is a result which should be welcomed to
             avoid the task of reconsidering issues which have already been settled by
             another competent tribunal.

     Ret. Sys. of Ala. v. J.P. Morgan Chase & Co., 386 F.3d at 429.

          Accordingly, AMERICAN TRANSIT has failed to demonstrate irreparable harm. 5

                                                  III.
              AMERICAN TRANSIT’S UNLIKELY TO SUCCEED ON THE MERITS

          As stated above, to prevail on a claim for injunctive relief, Plaintiffs must show (2) either

 (a) a likelihood of success on the merits or (b) sufficiently serious questions going to the merits to

 make them a fair ground for litigation and a balance of hardships tipping decidedly toward the

 party requesting the preliminary relief.” Jackson Dairy, Inc. v. H. P. Hood & Sons, Inc., supra.


 5
  To the extent AMERICAN TRANSIT relies on lower court decisions in support of its position, such
 cases are non-binding and at odds with the above-cited Second Circuit precedent.


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        AMERICAN TRANSIT’s affidavit sets forth no contention or factual basis showing a

 serious question as to the merits. It simply sets forth the number of arbitrations or litigation and

 sets forth no factual contention of any fraudulent behavior. It makes allegations as to PIERRE and

 MOY but not WEINER/NEXRAY.

           While the Complaint alleges, without evidence, that the NEXRAY DEFENDANTS

 were involved in billing fraud, no evidence beyond bare allegations is set forth. There is nothing

 attached that is relevant to those allegations as to the NEXRAY DEFENDANTS. The motion

 papers are similarly devoid of relevant exhibits. The allegations in the moving papers are

 conclusory and unsupported by any evidence. There are in fact, serious questions as to what

 AMERICAN TRANSIT knew or should have known about most, if not all, of the fraud it has

 belatedly alleged herein. Furthermore, the affidavit of Cheryl Glaze, manager of AMERICAN

 TRANSIT, states she is concerned that though defendant Moy was lost at sea, certain No-Fault

 attorneys have signed verifications on behalf of Rutland improperly. Yet, she does not identify why

 this cannot be raised in future litigations or arbitratioms. Also, AMERICAN TRANSIT fails to

 identify even one (1) patient who has complained about any of their medical treatment despite

 AMERICAN TRANSIT’s faux concern that patients will be subjected to unnecessary tests.

        While anyone can allege anything in a Complaint, Plaintiff AMERICAN TRANSIT has

 the burden in its motion for a preliminary injunction and has failed to meet it. In comparison, in

 Gov’t Empls. Ins. Co. v. Mayzenberg, 2018 WL 6031156 (EDNY 2018), *7, the Court found a

 likelihood of success on the merits after “a review of the Amended Complaint, the Exhibits

 submitted with this motion [including checks], and Mayzenberg’s testimony,” which it cited from

 at length that he “knew very little, if anything at all, about the Dovman shell companies that he

 used for ‘advertising’ and ‘marketing’ services. He did not know the names of the companies,



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 where they were located, or whether they had online websites. He did not have their phone numbers

 and did not remember ever meeting anyone who worked for them.” Furthermore, “[w]hen I.

 Dovman was asked whether the payments from Sanli and Laogong were kickbacks in exchange

 for patient referrals, he invoked his Fifth Amendment protection against self-incrimination. In fact,

 he invoked the Fifth Amendment in response to every single question at his deposition” for which

 the Court drew an ‘adverse inference.’ Nothing similar is attached or cited by the Complaint or

 motion in the case at bar.

        Clearly, Plaintiff has failed in its burden to demonstrate a likelihood of success on the

 merits or a serious question going to the issues. At the very least, this motion is premature.

                                                 IV.

                       THE BALANCE OF HARMS FAVORS NEXRAY

          The balance of harm also favors the NEXTRAY DEFENDANTS as the NEXRAY

  DEFENDANTS rely on the revenue for its medical treatment that is statutorily provided by the

  No-Fault system and AMERICAN TRANSIT, a comparative financial behemoth, is much more

  able to bear the burden of waiting to a decision in this matter, while defending arbitrations and

  litigations, than the NEXRAY DEFENDANTS are without prosecuting them. The rule in the

  Second Circuit is that when a Plaintiff seeks a preliminary injunction and relies on the lower

  standard of “serious question going to the merits to make them a fair ground for trial,” as

  AMERICAN TRANSIT does herein, then the “balance of hardships” factor must tip

  “decidedly” in Plaintiff's favor. Citigroup Glob. Markets Inc. v. VCG Special Opportunities

  Master Fund Ltd., 2008 WL 4891229, at *2 (S.D.N.Y. 2008) (emphasis added), aff'd, 598 F.3d

  30 (2d Cir. 2010). This is not the case herein. Having to defend in State Court possible future




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  State Court claims against it hardly demonstrates that the balance of hardships tips “decidedly” in

  AMERICAN TRANSIT’s favor.

          Defendants, on the other hand, will suffer severe injury to their medical practices if they

  are unable to obtain adjudication of their claims in State Court. Medical providers such as

  Defendants rely on the State Courts to adjudicate claims when such are denied by insurance

  companies. By enjoining the submission of future claims to litigation in State Court,

  AMERICAN TRANSIT seeks to financially strangle Defendants into submission. Under the

  circumstances, it is hard to see how the balance of hardships is “decidedly” in favor of this multi-

  billion-dollar insurance behemoth.

                                                  V.

     AMERICAN TRANSIT’S REQUEST TO ENJOIN THE COMMENCEMENT OF
         FUTURE ARBITRATIONS AND LITIGATION IS UNWARRANTED

        A Plaintiff seeking prospective injunctive relief must prove the likelihood of future or

 continuing harm. Atik v. Welch Foods, Inc., 2016 WL 11480151, at *3 (E.D.N.Y. Aug. 5, 2016),

 report and recommendation adopted, 2016 WL 5678474 (E.D.N.Y. Sept. 30, 2016) (citing Shain

 v. Ellison, 356 F.3d 211, 215 (2d. Cir. 2004) (a Plaintiff seeking injunctive relief “cannot rely on

 past injury to satisfy the injury requirement but must show a likelihood that he will be injured in

 the future.”)). Indeed, it is well-settled that “[p]ast exposure to illegal conduct does not in itself

 show a present case or controversy regarding injunctive relief.” Id. (quoting O'Shea v. Littleton,

 414 U.S. 488 (1974)). The fact that some arbitration cases had been brought in the past is thus

 insufficient to support injunctive relief for prospective claims. Given that there are presently no

 pending arbitral proceedings, it is purely speculative that future arbitration cases will be brought.

 See id. (citing Elkind v. Revlon Consumer Products Corp., 2015 WL 2344134, at *3 (E.D.N.Y.

 May 14, 2015)); Nicosia v. Amazon.com, Inc., 834 F.3d 220, 239 (2d Cir. 2016) (“Although past

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 injuries may provide a basis to seek money damages, they do not confer standing to seek injunctive

 relief unless the Plaintiff can demonstrate that [it] is likely to be harmed again in the future in a

 similar way”).

        Certainly, AMERICAN TRANSIT has not provided any evidence in support of its motion

 to suggest that future arbitral proceedings will be brought. As the party seeking prospective

 injunctive relief, AMERICAN TRANSIT bears the burden of demonstrating the likelihood of

 future or continuing harm. Shain v. Ellison, supra at 215 (a Plaintiff seeking injunctive relief

 “cannot rely on past injury to satisfy the injury requirement but must show a likelihood that he will

 be injured in the future.”). Accordingly, AMERICAN TRANSIT's request for prospective

 injunctive relief enjoining any future arbitration proceedings should be denied. See Vita v. Gen.

 Motors, LLC, 2023 WL 2970049, at *7 (E.D.N.Y. Feb. 27, 2023).

        AMERICAN TRANSIT’s request for a stay of pending 61 pending arbitrations should

 also be denied. As outlined in its Complaint, AMERICAN TRANSIT has made it a practice of

 regularly denying Defendants’ reimbursement requests, thereby triggering numerous arbitrable

 disputes. The Defendants have, in turn, pursued arbitration to resolve these disputes—invoking

 their contractual right under the New York policies. AMERICAN TRANSIT seeks to enjoin these

 arbitrations, as well as all future, otherwise valid, arbitrations and litigation between the parties,

 by persuading the Court to issue the preliminary injunction in this collateral proceeding. This is an

 attempt to gain leverage over the Defendants by financially squeezing them, so they have no choice

 but to settle on AMERICAN TRANSIT’s terms. The Court should not give credence to such a

 scheme. The pending bills are part of the arbitration and litigation process, which was specifically

 set up by New York State as the proper means to resolve these issues. AMERICAN TRANSIT




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 then insults the abilities of the very system New York State set up as if the arbitrators and New

 York State Civil Court judges could not handle these issues.

         As for future litigation, although the AIA does not expressly prohibit the issuance of a

 preliminary injunction against the filing of future state court cases [cite], nevertheless, because

 AMERICAN TRANSIT cannot meet the requirements for the granting of an injunction under Fed.

 R. Civ. P. 65, 6 its request for such relief should be denied based on the arguments above.

  circumstances.” Moore v. Consol. Edison Co. of N.Y., 409 F.3d 506, 510 (2d Cir. 2005).

                                           CONCLUSION

         Based on the foregoing, Defendants respectfully request that Plaintiffs’ motion to stay the

 New York State arbitral and civil court proceedings be denied in all respects.

 Dated: New York, New York
        April 12, 2024




                                                           _____________________________
                                                              Matthew J. Conroy, Esq.




 6
   “A preliminary injunction is an extraordinary remedy never awarded as of right. In each case, courts ‘must
 balance the competing claims of injury and must consider the effect on each party of the granting or
 withholding of the requested relief.’” Winter v. Nat. Res. Def. Council, Inc., 555 U.S.7, 24 (2008) (quoting
 Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 542 (1987)) (internal citation omitted). “A party seeking
 a preliminary injunction must generally show a likelihood of success on the merits, a likelihood of
 irreparable harm in the absence of preliminary relief, that the balance of equities tips in the party's favor,
 and that an injunction is in the public interest.” Am. Civil Liberties Union v. Clapper, 804 F.3d 617, 622 (2d
 Cir. 2015).


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